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                                UNITED STATES DISTRICT COURT
                                  DISTRICT OF CONNECTICUT

__________________________________________
                                                        )
RICHARD BEYER and MONICA BEYER,                         )
                                                        )       C.A. NO:
        Plaintiffs,                                     )
                                                        )
v.                                                      )
                                                        )
ANCHOR INSULATION CO., INC., JOHNS                      )
MANVILLE, INC., JOHNS MANVILLE, INC.                    )
D/B/A JOHNS MANVILLE INSULATION                         )
SYSTEMS, and ICYNENE CORPORATION,                       )
                                                        )
                                                        )
                                                        )
        Defendants.                                     )
                                                        )


                  JOHNS MANVILLE DEFENDANTS’ NOTICE OF REMOVAL

        Pursuant to 28 U.S.C. §§ 1332 and 1441 et seq., the undersigned counsel on behalf of the

defendants, Johns Manville, Inc. (“Johns Manville”), Johns Manville, Inc., d/b/a Johns Manville

Insulation Systems (“Insulation Systems”) (collectively, the “Johns Manville Defendants”),

hereby give notice of removal of this action to the United States District Court for the District of

Connecticut.

                                          Background Facts

        1.        This is a products liability action in which the plaintiffs, Richard Beyer and

Monica Beyer ("Plaintiffs"), alleges that their home was contaminated by the faulty installation

by the defendant Anchor Insulation Co. (“Anchor Insulation”) of SPF spray polyurethane

insulation, allegedly manufactured and distributed by Johns Manville and/or Insulation Systems

and the defendant Icynene Corporation (“Icynene”). Plaintiffs allege that Anchor Insulation’s


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faulty installation, and subsequent failure to fully remove the product, caused Plaintiffs to suffer

injuries, including, but not limited to, severe headaches, burning sensations on the skin, burning

eyes, heart palpitations and/or irregular heartbeats, breathing difficulties, and exacerbation of Mr.

Beyer’s asthma. See Plaintiff’s Complaint (“Complaint”), passim, attached as Exhibit A. The

Complaint alleges claims of failure to warn, breach of implied warranty, violation of the

Connecticut Unfair Trade Practices Act, § 42-110a et seq. (“CUTPA”), and product defect. Id.

        2.        By a Complaint dated September 26, 2013, Plaintiff initiated this civil action,

entitled Beyer and Beyer v. Anchor Insulation Co., Inc. et al., Civil Action No. KNL-CV13-

6019103-S, in the Superior Court for the State of Connecticut, Judicial District of New London

at New London (the “Action”). See Complaint, p. 1.

        3.        Johns Manville and Insulation Systems were served with a Summons and

Complaint on September 26, 2013. See Summons attached as Exhibit B.

        4.        This Notice of Removal is timely because it is made within 30 days of the first-

served defendant having received the Summons and Complaint. See Exhibit B; 28 U.S.C. §

1446(b).

                                          Diversity Removal

        5.        Complete diversity of citizenship exists between Plaintiff and the Defendants at

the time of filing of the Complaint, at the time of removal, and at all intervening times.

        6.        Upon information and belief, Plaintiffs were citizens and residents of Connecticut

at all times relevant to the Action. See Complaint, ¶ 1.

        7.        For purposes of diversity of citizenship, a corporation is deemed to be a citizen of

both the state of its incorporation and the state where it has its principal place of business. 28

U.S.C. § 1332(c)(1).



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        8.        Johns Manville and Insulation Systems are Delaware corporations with their

principal places of business in Colorado, and, thus, are citizens of Delaware and Colorado for

purposes of determining diversity. See Complaint, ¶ 4.

        9.        Upon information and belief, Anchor Insulation is a Rhode Island corporation

with its principal place of business in Rhode Island, and, thus, is a citizen of Rhode Island for

purposes of determining diversity. See Complaint, ¶ 2. Upon information and belief, Icynene is

a Delaware Corporation with its principal place of business in New York, and, thus, is a citizen

of both Delaware and New York for purposes of determining diversity. See Complaint, ¶ 5.

        10.       Defendant Anchor Insulation has consented to this Notice of Removal.

        11.       As of the date of this Notice, according to Jim Newell, Icynene’s Chief Financial

Officer, Defendant Icynene has not been served the Summons and Complaint in this matter. In

fact, Marshal Brendan F. Noonan’s Return of Service attests that, as of October 18, 2013,

Marshal Noonan has not received the return receipt from Icynene’s office in Buffalo, New York.

See Officers Return to the Court attached as Exhibit C. Consent from Icynene, therefore, is not

required. See Edelman v. Page, 535 F. Supp. 2d 290, 293 (D. Conn. 2008) (“A party asserting

proper removal may raise an exception to the unanimity rule when: (1) the non-joining

defendants have not been served with service of process at the time the removal petition is, filed .

. . .”) (Citations omitted; internal quotation marks omitted.)

        12.       This Court has original jurisdiction over this action under the provisions of 28

U.S.C. § 1332, in that the matter in controversy exceeds the sum or value of $75,000.00,

exclusive of interest and costs, and is between citizens of different states for diversity purposes.

The above-captioned action may, therefore, be removed pursuant to 28 U.S.C. §1441(a).




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        13.       With respect to removal based upon diversity jurisdiction, the Johns Manville

Defendants represent as follows:

                     a. The parties to this action are citizens of different states, and were citizens

                         of different states at the time the suit was initiated;

                     b. This is a civil action in which Plaintiffs allege that a defective SPF product

                         installed by Anchor Insulations and manufactured by Johns Manville

                         and/or Insulation Systems and Icynene, failed, allegedly causing Plaintiffs

                         to suffer injuries;

                     c. Plaintiff commenced this action seeking damages, exclusive of interest

                         and costs, in excess of $15,000. See Statement of Amount in Controversy

                         attached as Exhibit D; and

                     d. Although Plaintiffs’ Complaint does not specify the exact amount in

                         controversy, the Johns Manville Defendants reasonably believe that the

                         amount in controversy will exceed the sum or value of $75,000, exclusive

                         of interest and costs.

        14.       Accordingly, the requirements of 28 U.S.C. § 1332(a)(1) are satisfied, and the

Court would have original subject matter jurisdiction over this action if it had originally been

brought in federal court. Removal is, therefore, proper under 28 U.S.C. § 1441(a).

                                               Conclusion

        15.       This Court has original jurisdiction over this case under 28 U.S.C. § 1332(a)(1)

because Plaintiffs’ claims present a controversy between parties of diverse citizenship and the

amount in controversy exceeds $75,000, exclusive of interest and costs. Accordingly, this case is

removable under 28 U.S.C. § 1441(a).



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        16.       The Johns Manville Defendants reserve the right to file additional support for this

Notice of Removal by way of affidavits, deposition testimony, expert testimony, discovery

responses, supplemental memoranda, and legal argument.

        17.       Pursuant to 28 U.S.C. §§ 1442(a)(1) and 1446, the Johns Manville Defendants

have on this date filed a notice in the Superior Court for the State of Connecticut, Judicial

District of New London at New London, notifying the Court of the filing of this Notice of

Removal. A copy of the Notice of Filing Notice of Removal filed in the Superior Court is

attached as Exhibit E.

        18.       Finally, a copy of all process, pleadings and orders served upon the Johns

Manville Defendants, including a copy of the civil docket sheet for Beyer and Beyer v. Anchor

Insulation Co., Inc. et al., Civil Action No. KNL-CV13-6019103, is attached hereto as Exhibit F.

        WHEREFORE, the Johns Manville Defendants having provided notice as required by

law, now remove the above-captioned action from Superior Court for the State of Connecticut,

Judicial District of New London at New London, to the United States District Court for the

District of Connecticut.




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Dated: October 28, 2013

                                       By /s/ Catherine A. Mohan
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                                             Manville, Inc. and Johns Manville Insulation
                                             Systems.




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 28th day of October 2013, a copy of the foregoing
Defendants’ Statement in Support of Removal was sent via U.S. mail, postage prepaid, to the
following:

Michael J. McCabe
Counsel for Richard Beyer and Monica Beyer
23 Sunnyside Court
Milford, CT 06460

Anchor Insulation Co., Inc.
Corporate Office
435 Narragansett Park Drive
Pawtucket, RI 02861

Icynene Corporation
438 Main Street
Suite 100
Buffalo, NY 14202

         In addition, I hereby certify that on this 28th day of October, 2013, a copy of the
foregoing Defendant’s Statement in Support of Removal was filed electronically and served by
mail on anyone unable to accept electronic filing. Notice of this filing will be sent by e-mail to
all parties by operation of the Court’s electronic filing system or by mail to anyone unable to
accept electronic filing as indicated on the Notice of Electronic Filing. Parties may access this
filing through the Court’s CM/ECF System.



                                                      By /s/ Catherine A. Mohan
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